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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


   KENNETH ARMSTRONG, ex rel.                        Civil Action No.
   UNITED STATES OF AMERICA, et
   al.,                                              2:12-cv-3319-SDW-SCM

                Plaintiffs,
   v.                                                ORDER
                                                     [D.E. 92]
   ANDOVER SUBACUTE AND REHAB
   CENTER SERVICES ONE, INC. et al.,

                Defendants.

        For the reasons set forth on the record today,

        IT IS on this Wednesday, August 14, 2019,

 1. ORDERED, that Relator’s informal motion to compel the continued deposition of Mrs.

    Carla Kipiani is GRANTED without opposition; and it is further

 2. ORDERED, that Relator’s remaining informal motion is DENIED without prejudice.




                                                            8/14/2019 9:18:40 PM

 Original: Clerk of the Court
 Hon. Susan D. Wigenton, U.S.D.J.
 cc: All parties
 File




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